      Case 2:19-cr-00221-MWF Document 1 Filed 04/12/19 Page 1 of 1 Page ID #:1

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IRev.2~RE1                                                       -           «
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TRANSFER OF JURISDICTION
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                                                                                                     2:19-cr-00221-MWF

NAME ANQ ADDRESS OF                                                  DISTRICT                        DIVISION

   artha Lu ita Jam                                                   Southern California               San Diego
                                                                     NAME OF SENTENCING JUDGE
                                                                     Roger T. Benitez
                                                                     Senior U.S. District Judge
                                                                     DATES OF                        FROM           TO

                                                                     Supervised Release              08/09/2018     08/08/2028
OFFENSE

21 U.S.C. §§ 952 and 960, Importation of Methamphetamine,aClass Cfelony,



PART 1 -ORDER TRANSFERRING JURISDICTION
UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF CALIFORNIA
IT 15 HEREBY ORDERED that pursuant to 18 U.S.C. § 3641 the jurisdiction of the Supervised Releasee named above
be transferred with the records ofthe Court to the United States District Court For the Central District of California upon
that Court's order ofacceptance ofjurisdiction. This Court hereby expressEy consents that the period ofsupervised re{ease
may be changed by the District Court to which this transfer is made without further inquiry ofthis court.*




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      D                                                              Roger . B i z
                                                                     Seni U.S. District Judge

*This sentence maybe deleted a3 the discretion of the transferring Court.

PART 2 - QRDEA ACCEPTING JURISDICTION
UNITED STATES DISTRICT COURT FOR THE ENTRA                     ~C OF C       FORN A
IT 1S HEREBY ORDERED that jurisdiction over the above-named be accepted and assumed by this Court From and
after the entry of this order.




      April 1 1, 2019
     Etiectiue Date
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                                                                     United ,
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                                                                                 es District Judge
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